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 8                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
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10   KATHLEEN M. GUENTHER,                              Civil No. 2:20-CV-00461-RSM

11            Plaintiff,

12            vs.                                       ORDER ACCEPTING LATE FILING

13   COMMISSIONER OF SOCIAL SECURITY,

14            Defendant.

15            In response to Defendant’s Motion to Accept Late Filing, filed October 14, 2020 (ECF

16   No. 23), and considering that Plaintiff has no objection, it is hereby ORDERED that Defendant’s

17   Responsive Brief (ECF No. 22) shall be accepted as filed on October 14, 2020.

18            DATED this 27th day of October, 2020.

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21                                                A
                                                  RICARDO S. MARTINEZ
22                                                CHIEF UNITED STATES DISTRICT JUDGE

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                    RSM]
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                RSM]
